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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF GEORI4
                                            WAYCROSS DIVISION          rR



              UNITED STATES OF AMERICA


                     vs.                                             CASE NUMBER.: CR592-29

              BENJAMIN LASHAWN COOPER



                           MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                     Benjamin Cooper ("Cooper"), an inmate currently incarcerated at the Federal

              Correctional Institution in White Deer, Pennsylvania, filed a Motion entitled 'Rule 60(b)

              Motion and Combined Affidavit for the Court to Adjudicate the Bailey Claim Previously

              Filed Under § 2255." The government filed a Response. For the reasons which follow,

              Cooper's Motion should be DISMISSED.

                                            STATEMENT OF THE CASE

                     In 1993, a jury convicted Cooper of conspiracy to possess with the intent to

              distribute cocaine base, in violation of 21 U.S.C. § 846, and of use of a firearm during a

              drug trafficking offense, in violation of 18 U.S.C. § 924(c). (Doc. Nos. 1085, p. 2, and

              1086, p. 1). Cooper was initially sentenced to 360 months' imprisonment on the

              conspiracy charge and 60 months' imprisonment on the firearm charge, to be served

              consecutively; the conspiracy charge was later reduced to 292 months. (Doc. Nos.

              1085, p. 2, and 1086 pp. 1-2).     Cooper appealed, and the Court of Appeals for the

              Eleventh Circuit affirmed his conviction and sentence on October 26, 1995. (Doc. Nos.




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              1085, p. 2, and 1086, p. 2). The Eleventh Circuit denied Coopers Petition for

              Rehearing on February 1, 1996. (Doc. No. 1086, P. 2).

                     On June 24, 1996, Cooper filed a motion to vacate, set aside, or correct his

              sentence, pursuant to 28 U.S.C. § 2255. (iJ (referencing Coo per v. United States,

              CV596-060). Cooper states that he filed the 1996 § 2255 motion "[f]ollowing the

              Supreme Court's decision in Baile y v. United States, 516 U.S. 137 (1995), wherein the

              Court held that 'use' in § 924(c)(1) required 'an active employment of the firearm by the

              defendant.' Id., at 143." (Doc. No. 1085, p. 2). Cooper states that, in that motion, he

              argued that the decision in Baile y rendered his § 924(c)(1) conviction invalid and that he

              "also argued against the drug quantity attributed to him in the conspiracy charge." (j).

              Cooper avers that this Court denied his motion on the drug quantity issue but did not

              address the Bailey claim. ().

                     In July 2009, Cooper filed a second § 2255 motion. (Doc. No. 1086, P. 3)

              (referencing Cooper v. United States, CV509-038). Three weeks later, Cooper filed a

              "Motion for Hearing on Issue of Factual Dispute," wherein, according to the government,

              Cooper cited to Bailey for the first time. In April 2010, this Court dismissed Cooper's

              2009 § 2255 motion as successive. (Doc. No. 1086, pp. 3-4).

                    On March 12, 2012, Cooper filed the instant Motion, wherein he seeks

              adjudication of his previously-filed Bail claim. The Motion is docketed in United

              States v. Coo p er, CR592-029-6. It is unclear whether Cooper seeks relief from the

              judgment entered in CR592-029-6 or from the judgment entered in CV596-060. Cooper

              does not mention CV509-038 in his Motion. However, the government addressed the

              Motion as if Cooper is seeking relief from the judgment entered in CV509-038 because



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              it was, according to the government, in relation to that § 2255 motion where Cooper first

              brought a claim pursuant to Bailey.

                     In the instant Motion, Cooper argues that because he did not 'use" a firearm, "the

              facts of his case were insufficient to support a conviction under § 924(c)(1).... [And]

              this Court should right this miscarriage of justice by reaching the merits of the Bailey

              claim filed in his earlier § 2255." (Doc. No. 1085, p. 3). Cooper fails to state under what

              subsection of Federal Rule of Civil Procedure 60 his Motion is brought; the government

              has construed the Motion as brought under Rule 60(b)(6), and the Court agrees. The

              government argues that relief under Rule 60(b) is inappropriate because "[t]he district

              court sufficiently addressed all of Cooper's § 2255 claims [in CV509-038] by finding that

              his motion in its entirety was barred as successive." (Doc. No. 1086, p. 5). Additionally,

              the government argues that Cooper's Motion is untimely.

                                  DISCUSSION AND CITATION TO AUTHORITY

                    "A motion under Rule 60(b) must be made within a reasonable time. . . after the

              entry of the judgment or order[.]" FED. R. Civ. P. 60(c)(1). See also Ramsey v. Walker,

              304 F. App'x 827, 828 (11th Cir. 2008). Motions brought pursuant to Rule 60(b)(6) are

              not subject to the strict one year after the entry of judgment requirement applicable to

              motions brought pursuant to Rule 60(b)(1), (2), and (3). Instead, "[a] determination of

              what constitutes a reasonable time depends on the facts in an individual case, and in

              making the determination, courts should consider whether the movarit had a good

              reason for the delay in filing and whether the non-movant would be prejudiced by the

              delay." Ramsey, 304 F. App'x at 828 (citing Lairse y v. Advance Abrasives Co., 542

              F.2d 928, 930 (5th Cir. 1976)). In Ramse y, the Eleventh Circuit decided that Ramsey's



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              Rule 60(b)(6) motion was not fired within a reasonable time of the district court's denial

              of his habeas corpus petition, brought pursuant to 28 U.S.C. § 2254. The Court

              reasoned, "[Ramsey] filed the motion more than six years after the denial of his § 2254

              petition and two years after the cases on which he relied were decided" Id. at 829.

                      Because Cooper's Motion is unclear, the Court will assume that he intended to

              seek relief from the judgment entered in CV509-038, the most recent of the three

              relevant judgments.' Judgment was entered in CV509-038 on April 22, 2010. Cooper

              filed a Notice of Appeal on May 3, 2010. The Eleventh Circuit dismissed Cooper's

              appeal for want of prosecution on June 8, 2010. Over a year and a half later, and

              almost two years after the entry of judgment, Cooper filed the instant Rule 60(b) Motion.

              The arguments in Cooper's Motion are premised on Baile y v. United States, a 1995

              Supreme Court case, and were, therefore, available to Cooper at the time judgment was

              entered in CV509-038. Cooper has given no reason to justify his delay in bringing the

              instant Motion. Cooper's Motion was not filed "within a reasonable time" as required by

              Rule 60(c)(1).

                                                         CONCLUSION

                      Based on the foregoing, it is my RECOMMENDATION that Cooper's Motion be

              DISMISSED as untimely.

                      SO REPORTED and RECOMMENDED, this                           day of April, 2012.




                                                                  c.—r
                                                                LMES E. GRAHAM
                                                                NITED STATES MAGISTRATE JUDGE
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               It should be noted that Rule 60(b) is not ? available avenue to seek relief from the judgment entered in
              CR592-029. See FED. R. Civ. P. 1.

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